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   10                         UNITED STATES DISTRICT COURT
   11                       SOUTHERN DISTRICT OF CALIFORNIA
   12
        KATHRYN KAILIKOLE, an                       CASE NO.: 3:18-cv-02877-AJB-MSB
   13   individual;
                                                    [Previously San Diego Superior Court
   14                        Plaintiff,             Case No. 37-2018-00058754-CU-WT-NC
                                                    before the Honorable Ronald F. Frazier]
   15          v.
                                                    MEMORANDUM OF POINTS AND
   16   PALOMAR COMMUNITY                           AUTHORITIES IN SUPPORT OF
        COLLEGE DISTRICT, a                         DEFENDANT PALOMAR
   17   governmental entity; and DOES 1             COMMUNITY COLLEGE
        through 25, inclusive;                      DISTRICT’S MOTION TO DISMISS
   18                                               PLAINTIFF’S COMPLAINT
                             Defendants.            PURSUANT TO CAL. CODE CIV.
   19                                               PROC. § 425.16

   20                                               DATE: June 20, 2019
                                                    TIME: 2:00 p.m.
   21
                                                    Complaint Filed: November 20, 2018
   22                                               Removed: December 26, 2018
                                                    First Amended Complaint Filed:
   23                                               January 18, 2019
                                                    Trial Date: Not Set
   24

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          MEMO OF P’S AND A’S ISO DEF’S MOTION TO DISMISS PLAINTIFF’S COMPLAINT PURSUANT TO
                                                                   CAL. CODE CIV. PROC. § 425.16
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    1                  MEMORANDUM OF POINTS AND AUTHORITIES
    2   I.       INTRODUCTION
    3            Plaintiff was formerly the Dean, Instructional, of Mathematics and the
    4   Natural and Health Sciences at Palomar Community College District. Throughout
    5   her employment with the District, Plaintiff had difficulty meeting deadlines,
    6   working collaboratively with her colleagues, and following directives. Despite
    7   numerous meetings with her supervisor to address her shortcomings, Plaintiff
    8   continuously failed to improve her performance. Following an investigation by an
    9   outside attorney, which confirmed that Plaintiff engaged in misconduct, the District
   10   initiated proceedings to discharge Plaintiff because of her violations of District
   11   policy and the Education Code and for her ongoing unsatisfactory performance.
   12   Prior to the imposition of the proposed discharge, Plaintiff was given the
   13   opportunity to contest the action and offer evidence to contradict the District’s
   14   findings. Plaintiff willfully failed to avail herself of these opportunities.
   15            The District brings this special motion to strike pursuant to California Code
   16   of Civil Procedure section 425.16. Plaintiff’s First Amended Complaint (“FAC”)
   17   qualifies as a SLAPP suit because the lawsuit attacks actions taken in anticipation
   18   of an official proceeding authorized by law under the Ralph M. Brown Act. The
   19   alleged wrongful conduct Plaintiff complains of includes: the District’s
   20   investigation into her misconduct; placing her on leave pending the investigation;
   21   the Governing Board’s unanimous vote not to renew her employment contract; and
   22   the Governing Board’s unanimous vote to terminate her employment. All of
   23   Plaintiff’s claims should be stricken and the action dismissed because all of the
   24   alleged wrongful conduct constitutes protected activity and Plaintiff cannot meet
   25   her burden to show a probability of success on the merits of any of her claims.
   26   II.      FACTUAL BACKGROUND
   27            A.     Plaintiff was Terminated Due to Longstanding Issues of Poor
   28                   Work Performance, Neglect of Responsibility, and Misconduct
                                                     1
             MEMO OF P’S AND A’S ISO DEF’S MOTION TO DISMISS PLTF’S COMPLAINT PURSUANT TO CAL.
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    1          Plaintiff had a history of poor work performance and had been repeatedly
    2   counseled about her failure to meet deadlines, work collaboratively with her
    3   colleagues, and follow directives. (Declaration of Lisa Norman (“Norman Decl.”),
    4   par. 4, Ex. A, pp. 1-5, 26-49; Declaration of Jack Kahn (“Kahn Decl.”), par. 4, Ex.
    5   A, pp.105, 26-49). Prior to recommending her termination, Plaintiff’s supervisor,
    6   Mr. Jack Kahn, met with Plaintiff numerous times regarding her poor work
    7   performance. (Id.) The deficiencies in Plaintiff’s job performance included:
    8          •        In October 2017, Plaintiff missed a deadline for submitting the
    9   paperwork necessary to schedule interviews for the Assistant Professor, Computer
   10   Science Position, which jeopardized the hiring process and nearly resulted in the
   11   loss of qualified candidates;
   12          •        Despite being reminded multiple times, Plaintiff failed to timely
   13   review programming and planning reports for the disciplines in her division,
   14   resulting in extra work for her colleagues;
   15          •        In December 2017, despite receiving several email reminders and
   16   reports from other divisions as examples, Plaintiff missed the deadline for
   17   submitting her Annual Division Update Report;
   18          •        Plaintiff was several weeks late in providing Spring 2018 class
   19   schedules to Mr. Kahn, resulting in Mr. Kahn having to take over Plaintiff’s normal
   20   duties so that she could finish the scheduling;
   21          •        In overseeing the CCC Grant, Plaintiff repeatedly failed to respond to
   22   Professor Mark Bealo’s Requests for information regarding remaining funds,
   23   which he wanted to use to purchase equipment and technology. Mr. Bealo
   24   complained that despite several emails to Plaintiff’s administrative assistant, he had
   25   received only one response which stated that she was “not sure what is going to be
   26   done with the remaining funds.” Mr. Bealo was rightfully frustrated, as the funds
   27   would need to be returned if they were not used within the then upcoming deadline
   28   of four days;
                                                   2
           MEMO OF P’S AND A’S ISO DEF’S MOTION TO DISMISS PLTF’S COMPLAINT PURSUANT TO CAL.
                                                                        CODE CIV. PROC. § 425.16
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     1           •      Plaintiff failed to adequately oversee a Title V/HIS/STEM grant,
     2   which placed the District at risk of losing the funding. This affected the STEM
     3   center and the Math Center, which rely heavily on the funding. This also affected
     4   the District’s relationship with the California State University at San Marcos
     5   (“CSUSM”), which shares the Title V grant with the District;
     6           o      Specifically, despite being more than one year into the grant,
     7   Plaintiff had not assigned any of the release time funded by the grant and several
     8   full time grant-funded positions remained unfilled;
     9           •      STEM Center Supervisor Mireya Gutierrez-Aguero complained that
    10   Plaintiff’s conduct during the STEM conference in 2017 was so demeaning and
    11   disrespectful that she could not work with Plaintiff again to plan the Conference in
    12   2018, even threatening to quit her position;
    13           •      In April 2016, Plaintiff received student complaints that Professor
    14   Takashi Nakajima allowed students to shoot an Airsoft pistol in his classroom as
    15   an experiment, without taking property safety precautions. However, Plaintiff
    16   never took any action to initiate an administrative investigation into the incident
    17   and failed to notify HR until November 2017, more than eighteen months later;
    18           •      Despite reports that a faculty member under her supervision was
    19   violating the Education Code and various directives - and requests from Human
    20   Resources Services that Plaintiff follow up on the complaints – Plaintiff failed to
    21   follow up or take any action to try to confirm the conduct in the complaints;
    22           •      Plaintiff forwarded confidential information relating to Professor
    23   Nakajima and Professor George Gerwig to the Chair of the Engineering
    24   Department, Dr. Finkenthal. In turn, Dr. Finkenthal forwarded that information to
    25   his wife, a member of the Governing Board at CSUSM and members of the
    26   Palomar City College Governing Board, in order to try to facilitate Professors
    27   Nakajima and Gerwig’s termination.
    28   (Id.)
                                                    3
            MEMO OF P’S AND A’S ISO DEF’S MOTION TO DISMISS PLTF’S COMPLAINT PURSUANT TO CAL.
                                                                         CODE CIV. PROC. § 425.16
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     1          Plaintiff’s unsatisfactory performance compromised the integrity of the
     2   District as an institution. (Norman Decl., par. 4, Ex. A, p. 5) Despite being
     3   counseled numerous times, Plaintiff continued to fail to meet deadlines, manage
     4   her staff and workload, and work in a collaborate manner which warranted her
     5   termination. (Id.)
     6          B.      The Board’s Personnel Decisions Are Governed by The Education
     7                  Code and The District’s Administrative Association Handbook
     8          As a governmental entity, every action the District takes, through its
     9   Governing Board, is regulated by California law and subject to the will of the
    10   public. The Palomar Community College District is governed by a five-member
    11   Governing Board, elected by the public, which serves 2,500 square miles of
    12   northern San Diego County. (Norman Decl., par. 2; Kahn Decl., par. 2). Education
    13   Code Section 70902 mandates that “every community college district shall be
    14   under the control of a board of trustees, which is referred to as the ‘governing
    15   board.’” In carrying out its powers and duties, the governing board of each
    16   community college district retains full authority to adopt rules and regulations that
    17   are necessary and proper to executing these prescribed functions.” (Id.)
    18          Further, the California Education Code governs the District’s ability to
    19   terminate an employee. (See Cal. Educ. Code. section 87732.) Section 87732
    20   provides, “no regular employee or academic employee shall be dismissed except
    21   for… immoral or unprofessional conduct; dishonesty; unsatisfactory performance;
    22   or evident unfitness for service.” (Id.)
    23          The District’s discipline of employees is also governed by the District’s
    24   Administrative Association Handbook (“the Handbook”). (Norman Decl., par. 4,
    25   Ex. A, p.10; Kahn Decl., par. 4, Ex. A, p.10). Pursuant to section 15 of the
    26   Handbook, administrative employees facing discipline have the right to an
    27   evidentiary hearing, upon written request. (Norman Decl., par. 4, Ex. A, p. 13;
    28   Norman Decl., par.5; Kahn Decl., par. 4-5, Ex. A, p.13;). The Handbook further
                                                    4
            MEMO OF P’S AND A’S ISO DEF’S MOTION TO DISMISS PLTF’S COMPLAINT PURSUANT TO CAL.
                                                                         CODE CIV. PROC. § 425.16
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     1   provides that administrative employees may only be terminated for “cause.” (Id.)
     2   Cause is defined as: “those actions, omissions or behaviors which are detrimental
     3   to the operations of the District and/or its major instructional student and
     4   administrative divisions or which impair the District’s mission, purpose and
     5   objectives.” (Id.) Finally, the Handbook lays out the specific steps the District must
     6   take before disciplinary action is imposed on any employee. (Norman Decl., par.
     7   4, Ex. A, pp. 13-15; Kahn Decl., par.4, Ex. A, pp.13-15). These steps include
     8   providing written notice to the employee before any proposed discipline is
     9   imposed, providing the opportunity to respond both orally and in writing to the
    10   proposed action, and providing the opportunity to have an evidentiary hearing to
    11   dispute the proposed action. (Id.) If an employee fails to timely avail themselves of
    12   these rights, the District may move forward with its proposed disciplinary action.
    13   (Id.)
    14           C.     The Board Owes Special Duties To The Public When Making
    15                  Personnel Decisions And Is Regulated By The Ralph M. Brown
    16                  Act
    17           The Ralph M. Brown Act (the “Brown Act”) mandates that all official
    18   business conducted by public entities in California be openly accessible to the
    19   public. (Gov. Code, § 54950.) In enacting the Brown Act, the California legislature
    20   declared “the …public agencies in this State exist to aid in the conduct of the
    21   people's business [and] [i]t is the intent of the law that their actions be taken openly
    22   and that their deliberations be conducted openly. (Id.) The language of the Brown
    23   Act demonstrates a manifest intent that business conducted by public entities be
    24   subject to the public’s approval: “[t]he people, in delegating authority, do not give
    25   their public servants the right to decide what is good for the people to know and
    26   what is not good for them to know… [t]he people insist on remaining informed so
    27   that they may retain control over the instruments they have created.” (Id.)
    28   Specifically, the Brown Act mandates that “[a]ll meetings of the legislative body
                                                    5
            MEMO OF P’S AND A’S ISO DEF’S MOTION TO DISMISS PLTF’S COMPLAINT PURSUANT TO CAL.
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     1   of a local agency shall be open and public, and all persons shall be permitted to
     2   attend any meeting of the legislative body of a local agency…” (Gov. Code, §
     3   54953.) Further, “[any] [a]ction taken to appoint, employ, dismiss, accept the
     4   resignation of, or otherwise affect the employment status of a public employee in
     5   closed session … shall be reported at the public meeting during which the closed
     6   session is held. (Gov. Code, § 54957.1.)
     7          D.      Plaintiff Was Terminated in Accordance With The Brown Act,
     8                  The Education Code, And The District’s Disciplinary and
     9                  Grievance Procedures
    10          As a result of Plaintiff’s prolonged unsatisfactory work performance,
    11   Plaintiff’s supervisor Mr. Jack Kahn recommended that she be discharged from the
    12   position of a dean. (Norman Decl., par. 4, Ex. A, p. 1; Kahn Decl., par.4, Ex. A,
    13   p.1). Plaintiff received a “Notice of Proposed Discharge” which explained the
    14   reasons for the discharge recommendation. (Id.) Prior to her termination, Plaintiff
    15   had multiple opportunities to contest the proposed disciplinary action. (Norman
    16   Decl., par. 4, Ex. A, pp. 6-7, 264, par. 5-9, Ex. B-E; Kahn Decl., par. 4, Ex. A, pp.
    17   6-7, 264, par. 5-9, Ex. B-E).
    18          The “Notice of Proposed Discharge” informed Plaintiff of her right, which
    19   is unique to California employees, to have a formal pre-disciplinary Skelly hearing
    20   prior to the imposition of the disciplinary action. (Norman Decl., par. 4, Ex. A, pp.
    21   6-7; Kahn Decl., par. 4, Ex. A, pp. 6-7). The Skelly hearing was scheduled for May
    22   16, 2018 at 10:30 a.m. (Id.) Plaintiff was informed that she needed to confirm her
    23   attendance at the Skelly hearing within ten days of receiving the “Notice of
    24   Proposed Discharge.” (Id.) Plaintiff did not confirm her attendance or attend the
    25   Skelly hearing. (Norman Decl., par. 9, Ex. E; Kahn Decl., par. 9, Ex. E).
    26          In addition to her right to a Skelly hearing, Plaintiff was notified of her right,
    27   as a public employee, to an evidentiary hearing before the Governing Board or a
    28   hearing officer designated by the Board. (Norman Decl., par. 4, Ex. A, pp. 6-7, par.
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     1   5; Kahn Decl., par. 4, Ex. A, pp. 6-7, par. 5). Plaintiff was provided a form attached
     2   to the “Notice of Proposed Discharge” and instructed to fill it out to request such a
     3   hearing. (Id.) She was notified in bold and all capital letters that:
     4           “FAILURE        TO    FILE      A       TIMELY     REQUEST         FOR      AN
     5           EVIDENTIARY HEARING SHALL MEAN THAT YOU HAVE
     6           WAIVED YOUR RIGHT TO AN EVIDENTIARY HEARING …”
     7   (Id.)
     8           Plaintiff did not request an evidentiary hearing or otherwise respond to the
     9   “Notice of Proposed Discharge.” (Norman Decl., par. 9, Ex. E; Kahn Decl., par. 9,
    10   Ex. E). After giving Plaintiff notice of the board meeting date, the Governing Board
    11   took final action and unanimously voted to terminate Plaintiff’s employment.
    12   (Norman Decl., par. 5-9, Ex. B-E; Kahn Decl., par 5-9, Ex. B-E).
    13   III.    THE         DISTRICT’S      ACTIONS         PERTAINING            TO      THE
    14           TERMINATION ARE PROTECTED ACTIVITY UNDER § 425.16
    15           California’s anti-SLAPP statute “provides a procedure for weeding out, at
    16   an early stage, meritless claims arising from protected activity.” (Baral v. Schnitt
    17   (2016) 1 Cal.5th 376, 384.) Government agencies and their representatives have
    18   First Amendment rights and are “persons” entitled to protection under the statute.
    19   (Santa Barbara County Coalition Against Auto. Subsidies v. Santa Barbara County
    20   Assn. of Governments (2008) 167 Cal.App.4th 1229, 1237.) There is a two-step
    21   process for determining whether an action is a SLAPP: (1) the defendant must make
    22   a prima facie showing that the challenged cause of action is one arising from
    23   protected activity under the statute and (2) If the defendant makes such a showing,
    24   the plaintiff must demonstrate a probability of prevailing on the claims. (See §
    25   425.16, subd. (b)(1); Braun v. Chronicle Publishing Co., (1997) 52 Cal.App.4th
    26   1036, 1042-43.)
    27           In determining whether a cause of action is one arising from protected
    28   activity, courts “examine the principal thrust or gravamen” of a plaintiff’s cause of
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     1   action to determine whether the anti-SLAPP statute applies. (Ramona Unified
     2   School Dist. v. Tsiknas (2005) 135 Cal.App.4th 510, 519–520.) “[T]he critical point
     3   is whether the plaintiff’s cause of action itself was based on an act in furtherance
     4   of the defendant's right of petition or free speech.” (Scott v. Metabolife Intern., Inc.
     5   (2004) 115 Cal.App.4th 404, 414) (emphasis added.) However, “if the allegations
     6   of protected activity are only incidental to a cause of action based essentially on
     7   nonprotected activity, the mere mention of the protected activity does not subject
     8   the cause of action to an anti-SLAPP motion.” (Id.) A claim based on protected
     9   activity is incidental or collateral if it “merely provide[s] context, without
    10   supporting a claim for recovery.” (Id.)
    11          A.      Section 425.16 Applies to Acts Taken Pursuant to A Public
    12                  Entity’s Legally Mandated Pre-Termination Procedures
    13          As used in the statutory scheme of §425.16, an “act in furtherance of a
    14   person’s right of petition or free speech” includes: any written or oral statement or
    15   writing made in connection with an issue under consideration or review by a
    16   legislative, executive, or judicial body, or any other official proceeding authorized
    17   by law §425.16, subd. (e). While §425.16 protects speech or conduct made in
    18   connection with a public issue or concern, it does not require the defendant to show
    19   a public issue or issue of public interest. (Briggs v. Eden Council for Hope &
    20   Opportunity (1999) 19 Cal.4th 1106, 1116-1117.)
    21          As required, courts have interpreted §425.16 broadly and have found that in
    22   following mandatory pre-termination policies, public entities and their employees
    23   engage in protected activity. (See Vergos v. McNeal (“Vergos”) (2007) 146
    24   Cal.App.4th 1387; Miller v. City of Los Angeles (“Miller”) (2009) 169 Cal.App.4th
    25   1373; Hansen v. Department of Corrections & Rehabilitation (“Hansen”) (2008)
    26   171 Cal.App.4th 1537.)
    27          In Vergos, the court of appeal observed that the University of California
    28   Regents’ protocol for handling employee grievances was the equivalent of a state
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     1   statute. (Vergos, supra, Cal.App.4th at 1396, fn. 8.) As such, §425.16 applied to a
     2   state university employee who filed a civil rights claim against a manager, who
     3   denied the employee’s administrative grievance alleging sexual harassment. (Id.)
     4   The court disagreed with the trial court’s finding that the manager’s denial of
     5   grievance was not protected because it was not speech which occurred during a
     6   proceeding or in the exercise of the right to petition. (Vergos, supra, 146
     7   Cal.App.4th at 1397.) In reversing, the court explained that the manager’s decision
     8   to deny the employee’s grievance was protected communicative conduct because
     9   “the hearing, processing, and deciding of the grievances are meaningless without a
    10   communication of the adverse results.” (Id.)
    11          In Miller, supra, 169 Cal.App.4th at 1376, the city investigated Miller, a
    12   Water and Power employee, and terminated him for misconduct. The court
    13   determined that a civil service commissions’ finding that a city properly terminated
    14   Miller for a conflict of interest and theft was protected activity. (Id at 1383.) In so
    15   finding, the court explained that the thrust of Miller’s claims was “the City’s
    16   investigation into his conduct in connection with his public employment and its
    17   determination and report that he engaged in misconduct on the job,” which was
    18   protected activity under § 425.16. (Id.)
    19          Similarly, in Hansen, supra, 171 Cal.App.4th at 1541, a retired vocational
    20   instructor brought a whistleblower retaliation claim after the Department of
    21   Corrections and Rehabilitation launched an investigation into his alleged
    22   misconduct. The investigation was an official proceeding authorized by law
    23   because it was launched in anticipation of an official proceeding, and statements
    24   made in connection with the investigation were therefore protected under the anti-
    25   SLAPP statute. (Id at 1544.)
    26          In sum, applicable case law makes clear that in following mandatory pre-
    27   termination procedures, a public entity and its employees engage in protected
    28   activity under §425.16.
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     1          B.      Plaintiff’s Entire Lawsuit Arises From Defendant’s Protected
     2                  Activity in Complying with the Ralph M. Brown Act
     3          Each of the alleged wrongful acts Plaintiff complains of occurred as a part
     4   of the District’s pre-termination policies. The acts include: the District’s
     5   investigation into her misconduct; placing her on leave pending the investigation;
     6   the Governing Board’s unanimous vote not to renew her employment contract; and
     7   the Governing Board’s unanimous vote to terminate her employment. Taken
     8   together, these acts constitute an official proceeding authorized by law because they
     9   were launched in anticipation of an official proceeding. (See Hansen, supra, 171
    10   Cal.App.4th at 1544.) Therefore, all of the actions the District took in connection
    11   with the investigation were protected under the anti-SLAPP statute. (Id.)
    12          Further, these acts were “connected to the public interest” under the Brown
    13   Act. Pursuant to the Brown Act, the Governing Board “exists to aid in the conduct
    14   of the people's business.” It is well settled that conduct undertaken in connection
    15   with a public interest is protected. (Hunter v. CBS Broadcasting, Inc. (2012) 221
    16   Cal.App.4th 1510, 1520.) Whether College Deans are competent and should be
    17   responsible for managing taxpayer funded grants, while receiving a taxpayer-
    18   funded salary, is directly connected with the public interest. There was a legitimate
    19   public interest in placing Plaintiff on administrative leave and under investigation
    20   to determine the extent of her performance issues. Among other deficiencies, these
    21   performance issues included placing the District in jeopardy of losing grants which
    22   funded college programs and professor salaries. Moreover, there was a legitimate
    23   public interest in investigating Plaintiff’s suspicious communications with Dr.
    24   Finkenthal, wherein confidential information was inappropriately leaked to persons
    25   outside of the District. Therefore, the Governing Board had a duty, pursuant to the
    26   Brown Act, to perform the acts which form the basis of Plaintiff’s complaint.
    27          Accordingly, the primary “adverse actions” described in Plaintiff’s
    28   complaint are, according to case law, all protected activity.
                                                    10
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     1          C.      Nam and Park Do Not Compel a Different Result
     2          In opposing this motion, Plaintiff is expected to rely heavily on the recent
     3   decisions in Park v. Board of Trustees of California State University (“Park”)
     4   (2017) 2 Cal.5th 1057 and Nam v. Regents of University of California (“Nam”)
     5   (2016) 1 Cal.App.5th 1176.
     6          In Park, a professor who was denied tenure pursuant to the university’s
     7   retention, tenure, and promotion (“RTP”) proceedings sued the university alleging
     8   national origin discrimination. (Park, supra, 2 Cal.5th at p. 217.) The court held
     9   that a discrimination claim “may be struck only if the speech or petitioning activity
    10   itself is the wrong complained of, and not just evidence of liability or a step leading
    11   to some different act for which liability is asserted.” (Id.)
    12          In Nam, a former anesthesiology resident filed a complaint against a
    13   university for retaliation, discrimination, sexual harassment, and wrongful
    14   termination following dismissal from the residency program by the university’s
    15   competency committee. (Nam, supra, 2 Cal.5th at 1184.) The court decided that
    16   the competency committee’s decision to dismiss Nam was not protected activity
    17   because Plaintiff’s allegations made clear that true retaliation, not the committee’
    18   decision, was the basis of her claim. (Id.) The court noted that although personnel
    19   investigations are protected activities, “[t]he mere fact that the discrimination or
    20   retaliation triggered protected activity does not mean that it arose from the
    21   protected activity.” (Id at pp. 1190-1192.)
    22          For the reasons set forth below, neither of these decisions compel a different
    23   result than the District advocates.
    24                  1.   Unlike the Decision-Making Committees in Nam and Park, The
    25                       District is Subject to the Brown Act
    26          In the instant case, the Governing Board’s personnel decisions were subject
    27   to the Brown Act, whereas the competency committee which dismissed Nam and
    28   the tenure committee which denied Park’s tenure were not subject to any statutory
                                                    11
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     1   requirements.
     2          Unlike the committees in Nam and Park, the District’s publicly elected
     3   members of the Governing Board performed their respective duties on behalf of the
     4   public and pursuant to the Brown Act when making their disciplinary decisions
     5   relating to Plaintiff. Every disciplinary decision the Governing Board made was
     6   open to public scrutiny and subject to the public’s opportunity to express
     7   disapproval. Indeed, the Governing board members serve at the pleasure of the
     8   public. The disciplinary actions taken against Plaintiff were not just human
     9   resources decisions. Rather, they began as recommendations made by Plaintiff’s
    10   supervisor. Mr. Kahn’s recommendations had to go all the way up to the
    11   disinterested Governing Board and be taken under a publicly disclosed vote in order
    12   to comply with the Brown Act – making Nam and Park distinguishable. Thus, the
    13   Governing Board’s unanimous vote to terminate Plaintiff’s employment was
    14   protected activity.
    15                  2.     The District’s Acts Were Taken In Connection With The Public
    16                         Interest
    17          In both Nam and Park, the courts noted that the defendants’ alleged protected
    18   activity was merely incidental to the plaintiffs’ complaints and did not form the
    19   gravamen of the complaint. (See Park, supra, 2 Cal.5th at 217; Nam, supra, 2
    20   Cal.5th at 1190.) Specifically, in Nam, the plaintiff’s complaint and declaration
    21   included allegations that several independent investigations had been conducted
    22   related to her performance and that her name was cleared in every instance. (Nam,
    23   supra, 2 Cal.5th at 1193.) In fact, an independent investigator for the university
    24   noted in one of his reports that the university appeared to be singling Nam out. (Id.)
    25   Thus, the court determined that the university’s protected activity was merely
    26   incidental to Nam’s retaliation claims. (Id.)
    27          No such evidence exists here. Unlike Nam, Ms. Kailikole does not allege
    28   that any retaliatory or discriminatory acts occurred before she was placed under
                                                    12
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     1   investigation regarding her own misconduct. In fact, if Plaintiff eliminated her
     2   allegations regarding the personnel decisions the District took against her after
     3   discovering her misconduct, she would have no facts supporting any cause of
     4   action. Plaintiff admits that throughout her employment with the District she
     5   reported Professors Nakajima and Gerwig for various violations. However,
     6   Plaintiff does not allege one retaliatory or disciplinary act that arose from her
     7   complaints until after she was placed under investigation for her own misconduct.
     8   As the Court noted in Nam, “had defendants received the complaints about
     9   [plaintiff’s] performance and proceeded to discipline her in a manner
    10   commensurate with her shortcomings, in the absence of evidence of retaliation, its
    11   acts would have been characterized as protected.” (Nam, supra, 2 Cal.5th at 1192.)
    12   This is exactly what the District did here.
    13          Plaintiff’s continuous unsatisfactory work performance, coupled with her
    14   final act of professional misconduct, triggered the District’s right, indeed its duty
    15   on behalf of the public, to investigate Plaintiff and discipline her accordingly. As a
    16   result of the District performing its public duty, Plaintiff filed the instant complaint.
    17   Thus, Defendant’s protected activity is not “merely incidental” to Plaintiff’s causes
    18   of action. That is, it does not “merely provide context or evidence of animus.”
    19   Rather, all of plaintiff’s causes of action arise directly out of the District’s protected
    20   activity.
    21                  3.    A Finding that the District’s Acts Were Protected Activity Will
    22                        Not Immunize Public Entity Employment Decisions
    23          The application of the anti-SLAPP statute to public entity personnel
    24   decisions does not immunize any cause of action from judicial scrutiny. Rather, it
    25   recognizes that discretionary employment decisions which are arrived at pursuant
    26   to an official proceeding authorized by law, and made in connection with the public
    27   interest, are protected activity. This satisfies the District’s step one burden under
    28   the anti-SLAPP analysis. The burden then shifts to Ms. Kailikole on step two of
                                                    13
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     1   the analysis, to demonstrate that there is a probability that she will prevail on her
     2   claims.
     3   IV.    PLAINTIFF        CANNOT         ESTABLISH         A    PROBABILITY           OF
     4          PREVAILING ON ANY CAUSE OF ACTION
     5          A.      All Of Plaintiff’s Retaliation Causes of Action Will Fail Because
     6                  The Governing Board Had Legitimate, Non-Retaliatory Reasons
     7                  For Voting To End Plaintiff’s Employment
     8          As a threshold matter, all of Plaintiff’s retaliation causes of action will fail
     9   because the District had legitimate, non-retaliatory reasons for voting to terminate
    10   Plaintiff’s employment. Plaintiff’s first and second causes of action are federal
    11   retaliation claims, her third cause of action is for retaliation under the FEHA, and
    12   her seventh cause of action is for whistleblower retaliation under Cal. Lab. Code
    13   §1102.5. (See FAC ¶¶ 87-110, 131-139.) Each of these retaliation causes of action
    14   require Plaintiff to show that the alleged wrongful conduct she complains of was
    15   casually connected to her protected activity. (See Burch v. Regents of University of
    16   California (“Burch”) (E.D. Cal. 2006) 433 F.Supp.2d 1110, 1125-1126 (federal
    17   retaliation claims); Mamou v. Trendwest Resorts, Inc. (2008) 165 Cal.App.4th 686,
    18   713 (FEHA retaliation claims); Edgerly v. City of Oakland (“Edgerly”) (2012) 211
    19   Cal.App.4th 1191, 1203, as modified (Dec. 13, 2012) (Cal. Lab. Code §1102.5
    20   retaliation claims)). Thereafter, the burden then shifts to the employer to offer a
    21   legitimate, non-retaliatory reason for the adverse employment action. Once the
    22   employer has done so the plaintiff must offer evidence that the employer's stated
    23   reason is either false or pretextual, or evidence that the employer acted with
    24   retaliatory animus, or evidence of each which would permit a reasonable trier of
    25   fact to conclude the employer intentionally retaliated against the employee. Stegall
    26   v. Citadel Broadcasting Co. (9th Cir. 2003) 350 F.3d at 1065.
    27          Here, the Governing Board was presented with compelling information
    28   which warranted its unanimous vote to terminate Plaintiff’s employment. (Norman
                                                    14
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     1   Decl., par. 4, Ex. A, p. 1; Kahn Decl., par 4, Ex. A, p.1; Declaration of Jeffrey B.
     2   Love (“Love Decl.”), par. 3-4). Indeed, Mr. Kahn’s recommendation to the Board
     3   included numerous instances of Ms. Kailikole missing deadlines, failing to monitor
     4   the faculty under her supervision, failing to properly administer grant funds, and
     5   engaging in misconduct. (Id.) Further, Plaintiff does not allege that any retaliatory
     6   conduct occurred before she was placed under investigation regarding her own
     7   misconduct. Specifically, Plaintiff reported Professors Nakajima and Gerwig in
     8   May of 2017 and she was not placed under investigation until December 14, 2017.
     9   (FAC ¶¶ 6 and 13.) Plaintiff does not allege any retaliatory conduct during the 7-
    10   month period between her last report regarding Professors Nakajima and Gerwig
    11   and the date she was placed under investigation. The fact is, Plaintiff was placed
    12   under investigation and ultimately terminated due to her continued unsatisfactory
    13   work performance, dishonesty, misconduct, unprofessional conduct, and
    14   insubordination. Such conduct would, under the terms of her employment contract
    15   and District policy constitute a breach of contract and cause for discharge. Plaintiff
    16   cannot demonstrate that these proffered reasons for her termination were pretext.
    17   Accordingly, Plaintiff’s retaliation causes of action fail as a matter of law.
    18          B.      Plaintiff’s First and Second Causes of Action Will Fail Because
    19                  Plaintiff Did Not Engage in Protected Activity
    20          To plead a prima facie case of retaliation, Ms. Kailikole must allege that (1)
    21   she engaged in a protected activity; (2) the District took an adverse action against
    22   her; and (3) the adverse action was causally linked to the protected activity.”
    23   (Burch, supra, 433 F.Supp.2d 1110, 1125-1126.)
    24          Plaintiff’s retaliation claims require that she show that she engaged in some
    25   protected activity. Plaintiff cannot make such a showing. As Dean, Plaintiff was
    26   charged with addressing issues concerning her staff, including issues of student
    27   safety and welfare. (; Norman Decl., par. 4, Ex. A, pp.1-5 and 124-128 [pages 41-
    28   45 of Ex. 10, Interview Transcript]). Evidence showing that an employee was
                                                    15
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     1   merely doing their job is insufficient to support a retaliation cause of action. (See
     2   Patten v. Grant Joint Union High School Dist. (“Patten”) (2005) 134 Cal. App.4th
     3   1378, 1384-1385; Garcetti v. Ceballos, (“Garcetti”) (2006) 547 U.S. 410; Edgerly,
     4   supra, 211 Cal.App.4th at 1203.)
     5          In Garcetti, the United States Supreme Court, held that complaints made
     6   within the scope of an employee’s job cannot constitute protected conduct to
     7   support a retaliation claim. (Garcetti, supra, 547 U.S. at 421-24.) While neither
     8   California District Courts nor the Ninth Circuit has had occasion to expand on the
     9   Supreme Court’s ruling in Garcetti in the federal civil rights context, our sister
    10   circuits have expressed discernment. Some courts in our sister circuits refer to the
    11   rule in Garcetii as the “manager rule.” Under the manager rule, “in order to state a
    12   retaliation claim, complaints made within the scope of an employee’s job cannot
    13   constitute protected conduct.” (See Skare v. Extendicare Health Servs., Inc., 515
    14   F.3d 836, 841 (8th Cir. 2008) (applying manager rule in suit brought under state
    15   whistleblower statute by a nurse whose duties included ensuring legal compliance
    16   and reporting unlawful behavior); EEOC v. HBE Corp., 135 F.3d 543, 554 (8th Cir.
    17   1998) (applying manager rule in Title VII retaliation suit brought by an
    18   employment manager and personnel director whose duties included implementing
    19   company policy); McKenzie v. Renberg’s, Inc., 94 F.3d 1478, 1486–87
    20   (”Mckenzie”) (10th Cir. 1996) (“a requirement of ‘stepping outside’ a normal role
    21   is satisfied by a showing that the employee took some action against a
    22   discriminatory policy.”))
    23          Moreover, California district courts have found Mckenzie persuasive in
    24   defining protected activity under California Labor Code section 1102.5. (See Muniz
    25   v. United Parcel Service, Inc. (N.D. Cal. 2010) 731 F.Supp.2d 961, 970; Lund v.
    26   Leprino Foods Co. (E.D. Cal., June 20, 2007, No. CIVS060431WBSKJM) 2007
    27   WL 1775474, at *8 (holding that employee did not engage in protected activity
    28   when he reported an illegal spill because such reports were a part of his basic job
                                                    16
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     1   responsibilities.))
     2           In the FLSA context, the Ninth Circuit held that “[t]o fall within the scope
     3   of the antiretaliation provision, a complaint must be sufficiently clear and detailed
     4   for a reasonable employer to understand it, in light of both content and context, as
     5   an assertion of rights protected by the statute and a call for their protection.”
     6   (Rosenfield v. GlobalTranz Enterprises, Inc. (9th Cir. 2015) 811 F.3d 282, 286.)
     7   “The employee’s job title and responsibilities—in particular, whether he or she is
     8   a manager—form an important part of that “context.” (Id.) The court continued,
     9           Managers are in a different position vis-a-vis the employer than are
    10           other employees because their employer expects them to voice work-
    11           related concerns and to suggest changes in policy to their superiors.
    12           [Thus], a reasonable employer almost certainly would not understand
    13           that report as a ‘complaint’. . . Rather, the employer naturally would
    14           understand the manager’s report as carrying out his or her duties. In
    15           short, when determining whether an employee has ‘filed any
    16           complaint,’ the employee’s role as a manager often is an important
    17           contextual element.
    18   (Id.)
    19           In sum, these cases demonstrate that when a supervisory employee makes a
    20   complaint pursuant to a protected right, the employee must make it sufficiently
    21   clear that the complaint is being made in their capacity as an employee, and not as
    22   a supervisor merely performing their job duties. (McKenzie, supra, 94 F.3d at
    23   1486.)
    24           Accordingly, when Plaintiff reported alleged discrimination on behalf of
    25   students by Professors Nakajima and Gerwig, she was not engaged in a protected
    26   activity. Rather, she was acting in accordance with her job duties. (Edgerly, supra,
    27   211 Cal.App.4th at 1191 (holding that the Manager Rule applies where the
    28   plaintiff’s “general job duties” involve reporting violations.)) Plaintiff never had
                                                    17
            MEMO OF P’S AND A’S ISO DEF’S MOTION TO DISMISS PLTF’S COMPLAINT PURSUANT TO CAL.
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     1   contact with the original student complainants. (FAC ¶5). Rather, she received the
     2   original report from Dr. Daniel Finkenthal and relayed it to Shawna Cohen for
     3   handling. (FAC ¶5-6). Moreover, Plaintiff did not pursue the complaint or
     4   purposefully act as a witness in the investigation. Plaintiff does not - because she
     5   cannot - allege how her reports regarding professors Nakajima and Gerwig’s Title
     6   VI and Title IX violations were any different than the other reports she made as
     7   part of her job, in the past. For instance: the reports she made regarding the airsoft
     8   gun, use of the “warning letter,” and use of storage rooms as lab rooms. Plaintiff
     9   alleges no facts to suggest that she “stepped out of her role” as dean, and reported
    10   these violations in a manner that sufficient to put the District on notice that she was
    11   engaging in protected activity. As such, Plaintiff will be unable to establish that she
    12   engaged in protected activity under Title VI or Title IX and these claims will fail.
    13          C.      Plaintiff’s Third, Fourth, Fifth, and Sixth Causes of Action Will
    14                  Fail Because They Are Barred By California’ Public Entity
    15                  Immunity Statutes
    16          California Government Code §820.2 provides that public employees are
    17   immune from liability for harm resulting from their discretionary decisions.
    18   Further, section 815.2 provides that a public entity is not liable for harm resulting
    19   from a public employee’s act or omission, where the employee themselves is
    20   immune from liability. In her Opposition to the Districts’ Motion to Dismiss
    21   (“Oppos.”), Plaintiff flatly admitted that the District should be immune from
    22   liability in connection with Plaintiff’s FEHA claims. (Dkt. 11, Oppos., p. 18:1-3.)
    23   Plaintiff acknowledges that immunity under section 815.2 means that respondeat
    24   superior does not apply against a public entity. (Dkt. 11, Oppos., p. 18:1-3.) The
    25   District could not be liable for Plaintiff’s termination and the alleged resulting harm
    26   other than through the doctrine of respondeat superior. Section 820.2 expressly
    27   immunizes public entity employees for harm resulting from their discretionary
    28   decisions. The Governing Board’s unanimous vote to terminate Plaintiff’s
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            MEMO OF P’S AND A’S ISO DEF’S MOTION TO DISMISS PLTF’S COMPLAINT PURSUANT TO CAL.
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     1   employment resulted from each individual Board Member’s use of discretion in
     2   furtherance of their official duties. The Board Members are therefore immune from
     3   liability under section 820.2 - meaning the District is also immune pursuant to the
     4   express language of section 815.2.
     5          Moreover, the California Supreme Court specifically held that section 820.2
     6   affords immunity to public employees for FEHA claims. (Caldwell v. Montoya
     7   (1995) (“Caldwell”) 10 Cal.4th 972.) In Caldwell, the court determined that public
     8   employee’s enjoy immunity from suit for their discretionary acts, even where it is
     9   alleged that those acts violated the FEHA. (Id.) See also Kemmerer v. County of
    10   Fresno (“Kemmerer”) (1988) 200 Cal.App.3d 1426; Kayfetz v. State (1984) 156
    11   Cal.App.3d 491, 496-99.)
    12          In Caldwell, the plaintiff sued individual members of an elected school board
    13   alleging age and race discrimination in violation of FEHA, as well as for retaliatory
    14   discharge in violation of public policy. (Caldwell, supra, 10 Cal.4th at 975-976.)
    15   The California Supreme Court affirmed the sustaining of a demurrer and held that
    16   §820.2 affords “discretionary act immunity to the individual board members
    17   against both the common law and FEHA causes of action stated in plaintiff’s
    18   complaint.” (Id at 976.) The court reasoned that decisions by school board members
    19   to not renew a superintendent’s employment contract were discretionary acts under
    20   §820.2 because “the collective determination whether to hire or fire a person as the
    21   district’s superintendent must be considered a basic policy decision.” (Id. at 983.)
    22          Similarly, in Kemmerer, the court determined that Government Code §§
    23   821.6 and 820.2 immunize supervisors from tort liability for personnel decisions
    24   and affirmed a judgment of dismissal following an order sustaining a demurrer
    25   without leave to amend. (Kemmerer, supra, 200 Cal.App.3d at 1437.) The court of
    26   appeal aptly explained its reasoning for finding that supervisors are immune under
    27   these circumstances:
    28          If every public entity employee who was found to have committed an
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            MEMO OF P’S AND A’S ISO DEF’S MOTION TO DISMISS PLTF’S COMPLAINT PURSUANT TO CAL.
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     1          act of misconduct and later disciplined were allowed to bring a tort
     2          action against his coworkers and superiors, this would certainly bode
     3          ill for the continuing efficiency and morale of the civil service system.
     4          Supervisors within the civil service system would not be able to fulfill
     5          their function without the overhanging threat of legal action from
     6          employees who become subject to discipline.
     7   (Id at 1439.) Moreover, the court explained, “though sections 821.6 and 820.2
     8   expressly immunize only a decision making employee, if the employee is immune,
     9   so too is the county.” (Id at 1435.)
    10          Here, Caldwell and Kemmerer are instructive and immunity extends to the
    11   District, even though no individual defendants are named in the instant lawsuit. As
    12   in Caldwell and Kemmerer, the District’s alleged misconduct was connected to the
    13   initiation of internal grievance administrative proceedings relating to disciplining
    14   Plaintiff, for her poor work performance. Because the decision to terminate
    15   Plaintiff as based on each individual Board member’s discretionary vote, the Board
    16   members are immune from liability under sections 820.2. Pursuant to Government
    17   Code §815.2, the District must also therefore, be immune. (City of Huntington
    18   Beach v. Board of Administration (1992) 4 Cal.4th 462, 468 (the provisions of the
    19   California Government Code are in pari materia and must be read together and
    20   construed in a manner that gives effect to each); Kemmerer, supra, 200 Cal.App.3d
    21   at 1435 (“if the public employee is immune, so too is the public entity.”))
    22          Finally, the legislature’s intent in drafting Sections 820.2 and 815.2 is in line
    23   with the District’s position. The Legislative Committee comment to Section 815
    24   provides: “In general, the statutes imposing liability are cumulative in nature, i.e.,
    25   …the immunity provisions will as a general rule prevail over all sections
    26   imposing liability.” (emphasis added.) Here, Plaintiff cannot establish liability
    27   against the individual Governing Board members or the District under any
    28   provision of the Act. Accordingly, the District is immune from liability for
                                                    20
            MEMO OF P’S AND A’S ISO DEF’S MOTION TO DISMISS PLTF’S COMPLAINT PURSUANT TO CAL.
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     1   Plaintiff’s FEHA claims pursuant to California Government Code Sections 820.2
     2   and 815.2 - which is directly in line with the California state legislature’s intent.
     3          D.      Plaintiff’s Fourth, Fifth, and Sixth Causes of Action Fail as a
     4                  Matter of Law Because Plaintiff Did Not Suffer a FEHA-
     5                  Recognized Disability
     6          Workplace stress related to an employee’s job performance is not alone a
     7   cognizable disability under the FEHA. (Higgins-Williams v. Sutter Medical
     8   Foundation (2015) 237 Cal.App.4th 78, 84-86; Striplin v. Shamrock Foods Co.,
     9   Inc., (9th Cir. 2018) 731 F. App’x 618, 620; Estrada v. Gate Gourmet, Inc., (C.D.
    10   Cal. Dec. 6, 2017) No. CV171100MWFFFMX, 2017 WL 7803787, at *6; Burch v.
    11   California Dep’t of Motor Vehicles, (E.D. Cal. Aug. 17, 2017) No. 2:13-CV-
    12   01283-TLN-DB, 2017 WL 3537242, at *5.)
    13          Plaintiff expressly admits that her alleged anxiety is related to her workload.
    14   (FAC ¶11.) This assertion alone defeats Plaintiff’s FEHA disability causes of
    15   action. Higgins-Williams, supra, 237 Cal.App.4th at 84-86. Moreover, Plaintiff’s
    16   allegation that she “was diagnosed with anxiety which limits her in her major life
    17   activities” is nothing more than a conclusory recital of one of the elements of her
    18   causes of action. (FAC ¶4.)
    19          Plaintiff alleges no instance where she was prevented from performing her
    20   job duties due to her anxiety. Plaintiff also fails to allege that she presented the
    21   District’s human resources department with a medical certification from her
    22   physician, verifying she required accommodation. To that end, Plaintiff fails to
    23   allege that she ever placed a request for accommodation with the human resources
    24   department. Plaintiff’s bare assertion that she informed a colleague she was having
    25   trouble managing her workload does not rise to the level of requesting a disability
    26   accommodation. As such, Plaintiff fails to allege facts sufficient to establish that
    27   she suffered a disability recognized under the FEHA and that she requested
    28   accommodations for said disability. This failure will also result in the failure of her
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            MEMO OF P’S AND A’S ISO DEF’S MOTION TO DISMISS PLTF’S COMPLAINT PURSUANT TO CAL.
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     1   fourth, fifth, and sixth causes of action.
     2          E.      Plaintiff’s Seventh Cause of Action Will Fail Because Plaintiff
     3                  Fails to State a Claim for Which She Is Entitled to Relief
     4                  1.    Plaintiff is Not Entitled to Relief Because She Failed to Exhaust
     5                        the District’s Internal Grievance Procedures
     6          Failure to exhaust internal administrative remedies is an absolute bar to a
     7   Labor Code §1102.5 cause of action. (Terris v. County of Santa Barbara (“Terris”)
     8   (2018) 20 Cal.App.5th 551, 558, review denied (May 23, 2018); Campbell v.
     9   Regents of University of California (“Campbell”) (2005) 35 Cal.4th 311, 321;
    10   Johnson v. City of Loma Linda (2000) 24 Cal.4th 61, 70; Westlake Community
    11   Hosp. v. Superior Court (1976) 17 Cal.3d 465.) The District is aware of no
    12   authority which provides that this exhaustion requirement may be circumvented.
    13          This is not a case in which Plaintiff’s only opportunity to dispute her
    14   unfavorable employment decision came after the decision had already been
    15   rendered. Rather, Plaintiff had multiple opportunities and over 30 days to contest
    16   the proposed disciplinary action by exhausting internal administrative remedies.
    17   (Dkt. 9, Motion to Dismiss pp. 7:7 8:9.) Plaintiff failed to do so. The District has
    18   established procedures for employees to follow should they dispute disciplinary
    19   actions taken against them, such as the discharge of their employment. (Norman
    20   Decl., par. 4, Ex. A, pp. 13-15; Kahn Decl., par. 4, Ex. A, pp.13-15). Plaintiff, a
    21   public employee, received a notice of proposed discharge from the District and she
    22   chose not to respond. (Norman Decl., par. 4, Ex. A, pp. 13-15, par. 9, Ex. E; Kahn
    23   Decl., par. 4, Ex. A, pp.13-15, par. 9, Ex. E). The notice provided that there was
    24   evidence Plaintiff had engaged in misconduct. (Norman Decl., par. 4, Ex. A, pp. 1-
    25   5; Kahn Decl., par. 4, Ex. A, pp. 1-5). The notice also informed Plaintiff that if she
    26   did not timely respond to Notice, a termination decision would be made without
    27   her input. (Norman Decl., par. 4, Ex. A, p. 6; Kahn Decl., par. 4, Ex. A, p. 6).
    28   Despite being confronted with the mounting evidence of her misconduct, notice of
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            MEMO OF P’S AND A’S ISO DEF’S MOTION TO DISMISS PLTF’S COMPLAINT PURSUANT TO CAL.
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     1   potential termination, and being given the opportunity to meaningfully respond at
     2   a hearing, Plaintiff did nothing. (Norman Decl., par. 9, Ex. E; Kahn Decl., par. 9,
     3   Ex. E).
     4          As such, because Plaintiff has admittedly failed to exhaust her internal
     5   administrative remedies, her whistleblower retaliation claim is barred. (Dkt. 13,
     6   See, Oppos. to Motion to Dismiss p. 24:9-10). Further, because Plaintiff cannot
     7   truthfully amend the Complaint to allege exhaustion, Plaintiff has no likelihood of
     8   prevailing on this cause of action.
     9                  2.   Plaintiff is Not Entitled to Relief Because She Did Not Engage
    10                       in Protected Activity Under Her Whistleblower Retaliation
    11                       Cause of Action
    12          Like Plaintiff’s federal retaliation claims, her whistleblower retaliation claim
    13   fails because she cannot establish that she engaged in protected activity under the
    14   Manager Rule. (See Patten, supra, 134 Cal. App.4th at 1384-1385; Edgerly, supra,
    15   211 Cal.App.4th at 1204.)
    16          While Labor Code section 1102.5 protects employees “regardless of whether
    17   disclosing information is part of their job duties,” this language does not provide
    18   blanket protection to employees who are required to disclose violations to their
    19   employers. Moreover, this language does not eliminate the requirement that a
    20   Plaintiff must clearly demonstrate that any such disclosure is being done in his or
    21   her capacity as an employee making a complaint – not a supervisor merely
    22   performing their job. No authority exists which suggest that section 1102.5
    23   provides such a blanket protection. Indeed, a blanket protection would allow
    24   employees who report violations, even where required to do so by their jobs, to
    25   have whistleblower protection for each routine report. This interpretation strains
    26   logic and cannot be what is required to engage in protected activity.
    27          Here, Plaintiff asserts only that she reported Professor Nakajima and Gerwig
    28   for violations in accordance with her job duties. (FAC ¶55.) Plaintiff does not allege
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            MEMO OF P’S AND A’S ISO DEF’S MOTION TO DISMISS PLTF’S COMPLAINT PURSUANT TO CAL.
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     1   that she filed a formal complaint opposing the violations or actively pursued the
     2   violations outside of her role as the dean. Rather, she asserts that she received the
     3   original report from Dr. Daniel Finkenthal and relayed it to Shawna Cohen for
     4   handling. (FAC ¶¶5-6). Plaintiff did not pursue the Complaint or purposefully act
     5   as a witness in the investigation. Instead, she was kept abreast of updates and asked
     6   to be a witness because Professors Nakajima and Gerwig were her direct reports
     7   and the physics department was her responsibility. (Ex. A pp. 193-195; Norman
     8   Decl., par. 4, Ex. A, pp. 193-195; Kahn Decl., par. 4, Ex. A, pp. 193-195).
     9   Consequently, Plaintiff does not allege that she engaged in protected activity under
    10   Labor Code section 1102.5.
    11            As such, similar to her First and Second Causes of Action, Plaintiff’s
    12   Seventh Cause of Action will fail because Plaintiff did not engage in protected
    13   activity.
    14   V.       DEFENDANT IS ENTITLED TO ALL COSTS AND ATTORNEY’S
    15   FEES INCURRED RELATED TO ITSANTI-SLAPP MOTION
    16            A defendant who prevails on an anti-SLAPP motion is entitled to recover
    17   attorney’s fees and court costs from the plaintiff who filed the stricken pleading.
    18   Code of Civil Procedure § 425.16(c)(1). Importantly, a defendant does not need to
    19   succeed on the entire anti-SLAPP motion in order to be considered the prevailing
    20   party. (Mann v. Quality Old Time Serv., Inc. (2006) 139 Cal.App.4th 328, 339.)
    21   Accordingly, should this Court decide to grant all or part of Defendant’s anti-
    22   SLAPP motion, Defendant should be awarded its attorney’s fees and costs.
    23   ///
    24   ///
    25   ///
    26   ///
    27   ///
    28   ///
                                                      24
              MEMO OF P’S AND A’S ISO DEF’S MOTION TO DISMISS PLTF’S COMPLAINT PURSUANT TO CAL.
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     1   VI.    REQUESTED RELIEF
     2          Based on the foregoing, the Court should grant Defendant’s SLAPP Motion
     3   and enter an order striking Plaintiff’s FAC in its entirety, dismissing the instant
     4   lawsuit, and awarding Defendant its attorney’s fees and costs pursuant to California
     5   Code of Civil Procedure § 425.16(c)(1).
     6

     7    DATE: March 19, 2019                      FISHER & PHILLIPS LLP
     8                                        By:    /s/ Adam F. Sloustcher
                                                     Regina A. Petty
     9                                               Adam F. Sloustcher
                                                     Attorneys for Palomar Community
    10                                               College District
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            MEMO OF P’S AND A’S ISO DEF’S MOTION TO DISMISS PLTF’S COMPLAINT PURSUANT TO CAL.
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     1                            CERTIFICATE OF SERVICE
     2         I, the undersigned, am employed in the County of San Diego, State of
         California. I am over the age of 18 and not a party to the within action; am
     3   employed with the law offices of Fisher & Phillips LLP and my business address
         is 4747 Executive Drive, Suite 1000, San Diego, California, 92121.
     4
               On March 19, 2019 I served the foregoing document entitled
     5   MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
         DEFENDANT PALOMAR COMMUNITY COLLEGE DISTRICT’S
     6   MOTION TO DISMISS PLAINTIFF’S COMPLAINT PURSUANT TO CAL.
         CODE CIV. PROC. § 425.16 on all the appearing and/or interested parties in this
     7   action by placing      the original   a true copy thereof enclosed in sealed
         envelope(s) addressed as follows:
     8
          Evan Dwin                             Telephone: (760) 536-6471
     9    DWIN LEGAL, APC                       Facsimile: (760) 585-4649
          2121 Palomar Airport Road, Suite 170 E-Mail: edwin@dwinlegal.com
    10    Carlsbad, CA 92011                    Attorneys for Plaintiff
                                                Kathryn Kailikole
    11
               [by ELECTRONIC SUBMISSION] - I served the above listed
    12          document(s) described via the United States District Court’s Electronic
                Filing Program on the designated recipients via electronic transmission
    13          through the CM/ECF system on the Court’s website. The Court’s CM/ECF
                system will generate a Notice of Electronic Filing (NEF) to the filing party,
    14          the assigned judge, and any registered users in the case. The NEF will
                constitute service of the document(s). Registration as a CM/ECF user
    15          constitutes consent to electronic service through the court’s transmission
                facilities.
    16
               I declare that I am employed in the office of a member of the bar of this
    17   Court at whose direction the service was made.
    18          Executed March 19, 2019 at San Diego, California.
    19     Michael Lynn Filio                   By:
    20

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                                                  1
                                          PROOF OF SERVICE
         FPDOCS 35091493.2
